            Case 3:17-cr-04175-DMS Document 84 Filed 02/13/23 PageID.181 Page 1 of 2
AO 245D (CASO Rev. 1/19) Judgment in a Criminal Case for Revocations


                                     UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                                V.
                   VMANA JACQUEZ (2)
                                                                        Case Number:        3:l 7-CR-04175-DMS

                                                                     Ryan T. Mardock
                                                                     Defendant's Attorney
REGISTRATION NO.                66027-298
□-
THE DEFENDANT:
IZI   admitted guilt to violation of allegation(s) No.      1-4

D     was found guilty in violation of allegation(s) No.
                                                           - - - - - - - - - - - - - after denial of guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                  Nature of Violation
           1, 2                    Unlawful use of a controlled substance or Failure to Test
            3                      Failure to report to the probation officer for further supervision instructions
            4                      Failure to notify probation officer of change of residence




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines , restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     February lo. 2023
                                                                     Date oflmposition of Sen ten~


                                                                                   ~ ~~
                                                                     HON. DANA M. SABRA W
                                                                     UNITED STATES DISTRICT JUDGE
           Case 3:17-cr-04175-DMS Document 84 Filed 02/13/23 PageID.182 Page 2 of 2
AO 245D (CASO Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                VIVIANA JACQUEZ (2)                                                      Judgment - Page 2 of 2
CASE NUMBER:              3: l 7-CR-04175-DMS

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Eight (8) months




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant shall surrender to the United States Marshal for this district:
       □     at                             A.M.              on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                    By                     DEPUTY UNITED STATES MARSHAL



                                                                                                 3:17-CR-04175-DMS
